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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------X
  KAREN APARICIO,

                   Plaintiff,                                Case No.: 2:24-cv-00377-RER-ARL

           -against-                                         PROPOSED ORDER

  PEDIATRIC DENTISTRY of
  SUFFOLK COUNTY II, PLLC,
  CHRISTOS A. IOANNOU, DDS,
  and MICHAEL IOANNOU, DDS,

                    Defendants.
  ------------------------------------------------X

         THIS MATTER having come before the Court pursuant to the joint request of the parties
 for an extension of the discovery deadline;
         IT IS, this ____ day of _______, 2025

         ORDERED that the deadline:

                  (i)      for the completion of fact discovery is extended to September 15, 2025;

                  (ii)     for service of all affirmative expert reports is extended to October 15, 2025;

                  (iii)    for service of all rebuttal expert reports is extended to November 14, 2025;

                  (iv)     for all expert depositions is extended to December 15, 2025; and

                  (v)      to take the first step for dispositive motions will be January 9, 2026.




                                                      ___________________________________
                                             `        HON. ARLENE R. LINDSAY, U.S.M.J.
